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Harris, Ryan (USANYE) 1

From:                           Albert Z Levin
Sent:                           Thursday, March 26, 2020 9:07 PM
To:                             Harris, Ryan (USANYE) 1
Cc:                             Robotti, Michael (USANYE); Reid, Erin (USANYE)
Subject:                        Re: GJ Subpoena served upon



Hi Ryan- Meant to respond earlier. My client is not able to serve as a surety on any bond. He is of minimal
assets and in no position to co sign any bond for Mr. Luna. I’m still working on his response to your GJ
subpoena. Let me know if you are ok with this. Thanks.

Albert Z Levin, P.A.




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